                  Case 01-01139-AMC           Doc 7259-1      Filed 12/21/04       Page 1 of 1




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

IN RE:                                    :                     In Proceedings for a
                                          :                     Reorganization under
      W.R. Grace and Co., et. al.,        :                     Chapter 11
                                          :
            Debtors.                      :                     Jointly administered Under
                                          :                     Case No. 01-1139 (JKF)
                                          :
_________________________________________ :                     Relates to Doc. No. 7257

                                       CERTIFICATE OF SERVICE

         The undersigned hereby CERTIFIES

 That on the 21st day of December 2004, a true and correct copy of the Verified Statement Pursuant to
Fed.R.Bankr.P. 2019 Filed By Hobin, Shingler & Simon, LLP, together with exhibits recorded in
compact disk format, was served via hand delivery upon the following parties pursuant to the October 22,
2004 Order of court:

   US Bankruptcy Court               Frank J. Perch III                  David W. Carickhoff, Jr
   District of Delaware              Office of the U.S. Trustee          Pachulski Ziehl Stang Ziehl Young Jones
   c/o Bankruptcy Clerk              844 King Street, Suite 2207         919 N. Market St.
   824 Market Street, 3rd Floor      Lock Box 35                         16th Floor
   Wilmington, DE 19801              Wilmington, DE 19801                Wilmington, DE 19899


That on the 21st day of December, 2004, a true and correct copy of the within Notice Of Filing Of Rule
2019 Statement Of Representation By Hobin, Shingler & Simon, LLP, was served upon the Official
Service List, attached herewith, via regular U.S. Mail, postage pre-paid, at their respective addresses
(unless noted otherwise, or otherwise served via electronic mail):

         I hereby certify, under penalty of perjury, that the foregoing is true and correct.


                                                Respectfully submitted,


                                                /s/Daniel K. Hogan
                                                Daniel K. Hogan (DE #2814)
                                                THE HOGAN FIRM
                                                1311 Delaware Avenue
                                                Wilmington, DE 19806
                                                Telephone: 302-656-7540
                                                Facsimile: 302-656-7599


CERTIFICATE OF SERVICE
12/20/2004
